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   1 SEMNAR & HARTMAN, LLP
     BABAK SEMNAR (SBN 224890)
     bob@sandiegoconsumerattorneys.com
   2 JARED M. HARTMAN (SBN 254860)
     jared@sandiegoconsumerattorneys.com
   3 400  S. Melrose Dr., Suite 209
     Vista, CA 92081
     Telephone: (951) 293-4187
   4 Facsimile: (888) 819-8230
     Attorneys for Plaintiff
   5 PEDRAM SHAROKHI

   6                            UNITED STATES DISTRICT COURT
   7                          CENTRAL DISTRICT OF CALIFORNIA
       PEDRAM SHAROKHI, an individual,             Case No. 2:15-cv-04732-DMG-RAO
   8
                                                   JOINT NOTICE OF SETTLEMENT
                              Plaintiff,           AND REQUEST TO VACATE
   9             v.                                PENDING DATES, DEADLINES,
                                                   HEARINGS
  10 WELLS FARGO BANK, N.A.;

  11                          Defendants.
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  14            PLEASE TAKE NOTICE that the Parties herein—Plaintiff PEDRAM

  15 SHAROKHI and Defendant WELLS FARGO BANK, N.A.—have reached a

  16 settlement of the entire action on all claims and allegations.

  17            As such, the Parties request that all pending hearing dates and deadlines be

  18 vacated, and this matter be removed from the Court’s active calendar but retain

  19 jurisdiction for a period of 45 days to ensure a settlement agreement is fully executed

  20 and all terms thereto are finalized.

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   1        By including their electronic signature below counsel for all parties confirm to

   2 having reviewed and approved of the instant Notice for filing through the Court’s

   3 CM/ECF program.

   4 DATED: December 9, 2015                             Respectfully submitted,

   5                                                     /s/ Jared M. Hartman
                                                         Jared M. Hartman, Esq.
   6                                                     Semnar & Hartman, LLP
                                                         Attorneys for Plaintiff
   7
       DATED: December 9, 2015                           Respectfully submitted,
   8
                                                         /s/ Alexandra N. Krasovec
   9                                                     Alexandra N. Krasovec, Esq.
                                                         Severson & Werson
  10                                                     Attorneys for Defendant

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